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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                              Chapter 11

PROMISE HEALTHCARE GROUP, LLC, et al.,1                             Case No. 18-12491 (CTG)

                                    Debtors.                        (Jointly Administered)

                                                                    Re: Docket No. 2940

                     NOTICE OF SUBMISSION OF PROOFS OF
                 CLAIM IN CONNECTION WITH THE THIRTEENTH
          OMNIBUS OBJECTION (NON-SUBSTANTIVE) OF THE LIQUIDATING
          TRUSTEE TO CERTAIN (A) AMENDED AND SUPERSEDED CLAIMS;
    (B) INSUFFICIENT DOCUMENTATION CLAIMS; AND (C) LATE-FILED CLAIMS

         TO:      Parties required to receive notice pursuant to Del. Bankr. L.R. 2002-1.

                  PLEASE TAKE NOTICE that on March 24, 2023, Robert N. Michaelson of

Advisory Trust Group, LLC, solely in his capacity as liquidating trustee of the Promise

Healthcare Group Liquidating Trust (the “Liquidating Trustee”), in the above-captioned cases,

filed the Thirteenth Omnibus Objection (Non-Substantive) of the Liquidating Trustee to Certain

(A) Amended and Superseded Claims; (B) Insufficient Documentation Claims; and (C) Late-

Filed Claims (the “Thirteenth Omnibus Objection”) [Docket No. 2940] with the United States

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 The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax identification
number, are as follows: HLP HealthCare, Inc. (8381), PH-ELA, Inc. (9180), Promise Healthcare #2, Inc. (1913),
Promise Healthcare Group, LLC (1895), Promise Healthcare Holdings, Inc. (2601), Bossier Land Acquisition Corp.
(6644), HLP of Los Angeles, LLC (9102), HLP of Shreveport, Inc. (1708), HLP Properties at The Villages
Holdings, LLC (0006), HLP Properties at the Villages, L.L.C. (1938), HLP Properties of Vidalia, LLC (4255), HLP
Properties, Inc. (0068), Promise Healthcare of California, Inc. (9179), Promise Healthcare, Inc. (7953), Promise
Hospital of Ascension, Inc. (9219), Promise Hospital of Baton Rouge, Inc. (8831), Promise Hospital of Dade, Inc.
(7837), Promise Hospital of Dallas, Inc. (0240), Promise Hospital of East Los Angeles, L.P. (4671), Promise
Hospital of Florida at The Villages, Inc. (2171), Promise Hospital of Louisiana, Inc. (4886), Promise Hospital of
Lee, Inc. (8552), Promise Hospital of Overland Park, Inc. (5562), Promise Hospital of Phoenix, Inc. (1318), Promise
Hospital of Salt Lake, Inc. (0659), Promise Hospital of Vicksburg, Inc. (2834), Promise Hospital of Wichita Falls,
Inc. (4104), Promise Properties of Dade, Inc. (1592), Promise Properties of Lee, Inc. (9065), Promise Properties of
Shreveport, LLC (9057), Promise Skilled Nursing Facility of Overland Park, Inc. (5752), Promise Skilled Nursing
Facility of Wichita Falls, Inc. (1791), Quantum Health, Inc. (4298), Quantum Properties, L.P. (8203), Success
Healthcare 1, LLC (6535), Success Healthcare, LLC (1604), Vidalia Real Estate Partners, LLC (4947), LH
Acquisition, LLC (2328), Promise Behavioral Health Hospital of Shreveport, Inc. (1823), Promise Rejuvenation
Centers, Inc. (7301), Promise Rejuvenation Center at the Villages, Inc. (7529), and PHG Technology Development
and Services Company, Inc. (7766). The mailing address for the Debtors, solely for purposes of notices and
communications, is c/o FTI Consulting, Inc., 50 California Street, Suite 1900, San Francisco, CA 94111.


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Bankruptcy Court for the District of Delaware, 824 Market Street, 3rd Floor, Wilmington,

Delaware 19801. A hearing on the Thirteenth Omnibus Objection is scheduled for May 9, 2023

at 10:00 a.m. prevailing Eastern Time.

                 PLEASE TAKE FURTHER NOTICE that the proofs of claim that are required

to be delivered to Chambers pursuant to Del. Bankr. L.R. 3007-1(e)(iv) (the “Proofs of Claim”)

have been delivered to Chambers (with all attachments) together with a copy of the Thirteenth

Omnibus Objection. Copies of any Proof of Claim can be requested from the undersigned

counsel to the Liquidating Trustee.

Dated: April 25, 2023                       PACHULSKI STANG ZIEHL & JONES LLP
       Wilmington, Delaware
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                                            Bradford J. Sandler (DE Bar No. 4142)
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                                            -and-

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                                            Counsel to the Liquidating Trustee




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